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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                     CASE NO.: 23-10086-BKC-RAM
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

LESLIE HOWARD ROBERTS
SILVIA HELENA ROBERTS

_____________________________/
DEBTORS

                          TRUSTEE'S CERTIFICATE OF SERVICE
                     OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS

   Nancy K. Neidich, Esquire, Chapter 13 Trustee, served the

   1. Trustee's Notice of Required Documents,

   2. Debtors' Checklist for 341 Meeting of Creditors,

   3. Chapter 13 Meeting of Creditors Preparation Sheet,

   4. Chapter 13 Confirmation Preparation Sheet,

   5. National Data Center brochure,

    was served through NEF on the Debtors' attorney and by US Mail on the Debtors at the address below
on the business day after this document was filed with the Court.



                                                           Submitted by
                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 279806
                                                           MIRAMAR, FL 33027-9806
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                TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
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                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
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MIAMI, FL 33131
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